              Case 2:20-cr-00032-JCC Document 232 Filed 09/26/21 Page 1 of 2




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2                                                                 The Honorable John C. Coughenour

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6                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
7                                           AT SEATTLE

8
     UNITED STATES OF AMERICA,                             No. CR20-032 JCC
9
                     Plaintiff,
10                                                         MOTION TO SEAL EXHIBITS TO
             v.                                            DEFENDANT’S OBJECTION TO
11                                                         GOVERNMENT’S PROPOSED SOUND
     KALEB COLE,
                                                           CLIP EXHIBITS
12
                     Defendant.
13
                                                           Note for Consideration:
14
                                                           October 8, 2021
15

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             Defendant, Kaleb Cole, by undersigned counsel, respectfully moves to seal the exhibits to
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     his objections to the Government’s proposed sound clip exhibits on the basis that they contain

19   information pertaining to confidential sources. The defense requests that the exhibits, which will

20   be filed under seal subsequent to this motion, be allowed to remain under seal due to the nature

21   of their contents.
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      MOTION TO SEAL EXHIBITS TO DEFENDANT’S                      BLACK & ASKEROV, PLLC
      OBJECTION TO GOVERNMENT’S PROPOSED                       705 Second Avenue, Suite 1111
      SOUND CLIP EXHIBITS                                            Seattle, WA 98104
      (Kaleb Cole; No. CR20-032 JCC) - 1                     206.623.1604 | Fax: 206.658.2401
           Case 2:20-cr-00032-JCC Document 232 Filed 09/26/21 Page 2 of 2



          Respectfully submitted this 26th day of September, 2021.
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                                              BLACK & ASKEROV, PLLC
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                                              Email: chris@blacklawseattle.com
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6
                                              s/ Teymur Askerov
7                                             Teymur Askerov, WSBA No. 45391
                                              Email: tim@blacklawseattle.com
8
                                              Attorneys for Kaleb Cole
9                                             705 Second Avenue, Suite 1111
                                              Seattle, WA 98104
10                                            Phone:         206.623.1604
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